Case 1:22-cv-05794-PGG-KHP Document 35-2 Filed 01/31/23 Page 1 of 9

EAHIBIT B
Case 1:22-cv-05794-PGG-KHP Document 35-2 Filed 01/31/23 Page 2 of 9

From: Erin Kelley

To: David Stein

Cc: David M. Nieporent; ADA Litigation Team; Edward Kroub

Subject: RE: [External] Mejia v. The Tree Center LLC; Case No. 22-cv-5794 (PGG) (KHP)
Date: Tuesday, January 24, 2023 7:40:00 PM

Attachments: image001.png

If that’s the case, then let’s try to reach a settlement in this case as soon as possible. | was just
informed that Will sent you an updated demand this morning, and he has not heard a response since
then. | sent you our first settlement demand in August of last year—to which | received no response.
Just as | received no response to my M&C letter sent on January 17,

We are committed to settling this case and not increasing any more litigation fees. However, neither
that nor Defendant’s financial situation means that we should forgo our obligation to prosecute this
case—by continuing to let time go by and deadlines to pass. Currently, the discovery deadline is

February 28".

| can hold off on reaching out to the Court. However, if we either do not settle or meet and confer
about the discovery issues by 5 pm on Friday, we will have no choice but to let the Court know about
these discovery issues we cannot seem to resolve.

Erin Kelley mizrahikroub.com
Associate a 919 6200

225 Broadway 39th Flr. New York, New York 10007

IMPORTANT: The contents of this email and any attachments are confidential. They are intended for the named recipient(s) only. If
you have received this email by mistake, please notify the sender immediately and do not disclose the contents to anyone or make
copies thereof.

From: David Stein <dstein @steinllp.com>

Sent: Tuesday, January 24, 2023 7:19 PM

To: Erin Kelley <ekelley@mizrahikroub.com>

Ce: David M. Nieporent <dnieporent@steinllp.com>; ADA Litigation Team
<ADALitigationTeam@mizrahikroub.com>; Edward Kroub <ekroub@mizrahikroub.com>
Subject: RE: [External] Mejia v. The Tree Center LLC; Case No. 22-cv-5794 (PGG} (KHP)

Erin:

It might make sense for you to consider whether it is a sound business decision to engage in motion
practice with a defendant that lost half-a-million dollars in the last quarter of the year.

Sincerely,
David Stein

David Stein
Partner / STEIN & NIEFORENT LLP

A: 1441 Broadway, Suite 6090, New York, NY 10018
Case 1:22-cv-05794-PGG-KHP Document 35-2 Filed 01/31/23 Page 3 of 9

atELN

> Y
—-SAN-
‘ SP: (212) 308-3444 F: (212) 836-9595 C: (646) 334-4419
“ORENTY E: dstein@steinllp.com W: wwwsteinllp.com
ADMITTED IN NY, NJ, PA, IL, DC
CONFIDENTIAL AND PRIVILEGED

From: Erin Kelley <ekelley@mizrahikroub.com>

Sent: Tuesday, January 24, 2023 7:05 PM

To: David Stein <dstein@steinllp.com>; Edward Kroub <ekroub@mizrahikroub.com>
Cc: David M. Nieporent <dnieporent@steinllp.com>; ADA Litigation Team
<ADALitigationTeam @mizrahikroub.com>

Subject: RE: [External] Mejia v. The Tree Center LLC; Case No. 22-cv-5794 (PGG} (KHP)

Good evening Davids,

| am following up. We still have not heard back from you regarding our meet and confer letter. As a
result, we will have to let the Court know about the issues as explained in the letter unless | hear

back from before tomorrow, January asth,

Erin Kelley |_| mizrahikroub.com
Associate |_| (212) 505-6200

[| |_| 225 Broadway 39th Flr. New York, New York 10007

IMPORTANT: The contents of this email and any attachments are confidential. They are intended for the named recipient(s) only. If
you have received this email by mistake, please notify the sender immediately and do not disclose the contents to anyone or make
copies thereof.

From: Erin Kelley

Sent: Friday, January 20, 2023 3:46 PM

To: David Stein <dstein@steinllp.com>; Edward Kroub <ekroub@mizrahikroub.com>
Cc: David M. Nieporent <dnieporent@steinllp.com>; ADA Litigation Team
<ADALitigationTeam @mizrahikroub.com>

Subject: RE: [External] Mejia v. The Tree Center LLC; Case No. 22-cv-5794 (PGG} (KHP)

Good afternoon Davids,

| am following up on the email below. We need to meet and confer as soon as possible regarding

your discovery responses. Please respond to us no later than 5 pm on Monday, January 23'¢,

Case 1:22-cv-05794-PGG-KHP Document 35-2 Filed 01/31/23 Page 4 of 9

Erin Kelley |_| mizrahikroub.com
Associate |_| (212) 505-6200

[| |_| 225 Broadway 39th Flr. New York, New York 10007

IMPORTANT: The contents of this email and any attachments are confidential. They are intended for the named recipient(s) only. If
you have received this email by mistake, please notify the sender immediately and do not disclose the contents to anyone or make
copies thereof.

From: Erin Kelley <ekelley@mizrahikroub.com>

Sent: Tuesday, January 17, 2023 11:45 AM

To: David Stein <dstein@steinllp.com>; Edward Kroub <ekroub@mizrahikroub.com>
Cc: David M. Nieporent <dnieporent@steinllp.com>; ADA Litigation Team
<ADALitigationTeam @mizrahikroub.com>

Subject: RE: [External] Mejia v. The Tree Center LLC; Case No. 22-cv-5794 (PGG} (KHP)

Good morning Davids,

Please see the attached meet and confer letter regarding Defendant’s discovery responses, or lack
thereof. We want these discovery responses before we take a deposition of Defendant’s
designation. As stated in the letter, please send us dates that you are available to meet and confer
this week.

Additionally, | see that you copied Sarah Morgan on this email. She is no longer with the firm. Please
make sure not to direct any future emails to her.

Erin Kelley |_| mizrahikroub.com
Associate |_| (212) 595-6200

[| |_| 225 Broadway 30th Fir. New York, New York 10007

IMPORTANT: The contents of this email and any attachments are confidential. They are intended for the named recipient(s) only. If
you have received this email by mistake, please notify the sender immediately and do not disclose the contents to anyone or make
copies thereof.

From: David Stein <dstein@steinllo.com>

Sent: Sunday, January 15, 2023 4:00 PM

To: Edward Kroub <ekroub@mizrahikroub.com>

Ce: David M. Nieporent <dnieporent@steinllp.com>; ADA Litigation Team
<ADALitigationTeam@mizrahikroub.com>; Sarah Morgan <smorgan@mizrahikroub.com>; Erin
Kelley <ekelley@mizrahikroub.com>

Subject: RE: [External] Mejia v. The Tree Center LLC; Case No. 22-cv-5794 (PGG) (KHP}
Case 1:22-cv-05794-PGG-KHP Document 35-2 Filed 01/31/23 Page 5of9

Of course, Eddie. Let me know when, and we will try to coordinate our schedule with yours.

Sincerely,
David Stein

atElN David Stein
Partner / STEIN & NIEPORENT LLP
—_ & Gry —
SAd5N A: 1441 Broadway, Suite 6090, New York, NY 10018
2, 3
4% ,

,, < P: (212) 308-3444 F: (212) 836-9595 C: (646) 334-4419
“ORENS E: dstein@steinllp.com W: www.steinllp.com

ADMITTED IN NY, NJ, PA, IL, DC
CONFIDENTIAL AND PRIVILEGED

From: Edward Kroub <ekroub@mizrahikroub.com>

Sent: Tuesday, January 10, 2023 10:33 AM

To: Erin Kelley <ekelley@mizrahikroub.com>; David Stein <dstein@steinllp.com>
Cc: David M. Nieporent <dnieporent@steinllp.com>; ADA Litigation Team

<ADALitigationTeam@mizrahikroub.com>; Sarah Morgan <smorgan@mizrahikroub.com>
Subject: Re: [External] Mejia v. The Tree Center LLC; Case No. 22-cv-5794 (PGG) (KHP}

| will be on vacation that week. Can we do it the week after?

Edward Y. Kroub
Mizrahi Kroub LLP

From: Erin Kelley <ekelley@mizrahikroub.com>

Sent: Tuesday, January 10, 2023 10:30:03 AM

To: David Stein <dstein@steinllp.com>

Cc: David M. Nieporent <dnieporent@steinllp.com>; ADA Litigation Team
<ADALitigationTeam@mizrahikroub.com>; Sarah Morgan <smorgan@mizrahikroub.com>
Subject: Re: [External] Mejia v. The Tree Center LLC; Case No. 22-cv-5794 (PGG) (KHP)

Yes, he will.

Kind regards,
Erin Kelley

From: David Stein <dstein@steinllo.com>

Sent: Tuesday, January 10, 2023 10:07:51 AM

To: Erin Kelley <ekelley@mizrahikroub.com>

Ce: David M. Nieporent <dnieporent@steinllp.com>; ADA Litigation Team

<ADALitigationTeam@mizrahikroub.com>; Sarah Morgan <smorgan@mizrahikroub.com>
Subject: RE: [External] Mejia v. The Tree Center LLC; Case No. 22-cv-5794 (PGG) (KHP}
Case 1:22-cv-05794-PGG-KHP Document 35-2 Filed 01/31/23 Page 6 of 9

Please let us know ASAP if Mr. Mejia will require the assistance of a Spanish interpreter at his
deposition. Thanks.

Sincerely,
David Stein

atElN David Stein
Partner / STEIN & NIEPORENT LLP
—_ & Gry —
SAd5N A: 1441 Broadway, Suite 6090, New York, NY 10018
Z 3
4% ,

,, wm) P: (212) 308-3444 F: (212) 836-9595 C: (646) 334-4419
“ORENS E: dstein@steinllp.com W: www.steinllp.com

ADMITTED IN NY, NJ, PA, IL, DC
CONFIDENTIAL AND PRIVILEGED

From: David Stein

Sent: Monday, January 9, 2023 7:15 PM

To: Erin Kelley <ekelley@mizrahikroub.com>

Cc: David M. Nieporent <dnieporent@steinllp.com>; ADA Litigation Team

<ADALitigationTeam@mizrahikroub.com>; Sarah Morgan <smorgan@mizrahikroub.com>
Subject: Mejia v. The Tree Center LLC; Case No. 22-cv-5794 (PGG) (KHP)

Clint Stelfox will be the 30(b}(6) deponent for The Tree Center LLC. Please give us proposed dates,
and we will work with you to schedule his deposition. Attached please find a notice of deposition
directed to plaintiff Mejia.

Sincerely,
David Stein

otEIN David Stein
. Partner / STEIN & NIEFORENT LLP
oe aes Tez
SA5N A: 1441 Broadway, Suite 6090, New York, NY 10018
Ls S$

4, = P: (212) 308-3444  F: (212) 836-9595 C: (646) 334-4419
“OpENS y E: dstein@steinllp.com W: www.steinllp.com

ADMITTED IN NY, NJ, PA, IL, DC
CONFIDENTIAL AND PRIVILEGED

7.

From: Erin Kelley <ekelley@mizrahikroub.com>

Sent: Monday, January 9, 2023 5:55 PM

To: David Stein <dstein@steinllp.com>; Sarah Morgan <smorgan@mizrahikroub.com>
Ce: David M. Nieporent <dnieporent@steinllp.com>; ADA Litigation Team
<ADALitigationTeam@mizrahikroub.com>

Subject: RE: [External] [URGENT] RE: Mejia v. The Tree Center, 1:22-cv-05794
Importance: High

Good evening Davids,
Case 1:22-cv-05794-PGG-KHP Document 35-2 Filed 01/31/23 Page 7 of 9

| am following up on our 30(b}{6) notice of deposition in Mejia v. The Tree Center. Please let us know
as soon as possible who Defendant’s designation will be and when they are available for a
deposition. Per our deposition notice, the deposition needs to take place on or before Thursday,

January 26",

Please let me know if there are any issues.

Erin Kelley |_| mizrahikroub.com
Associate |_|(212) 595-6200

|_| 225 Broadway 39th Flr. New York, New York 10007

IMPORTANT: The contents of this email and any attachments are confidential. They are intended for the named recipient(s) only. If
you have received this email by mistake, please notify the sender immediately and do not disclose the contents to anyone or make
copies thereof.

From: David Stein <dstein@steinllo.com>

Sent: Thursday, December 29, 2022 7:33 PM

To: Erin Kelley <ekelley@mizrahikroub.com>; Sarah Morgan <smorgan@mizrahikroub.com>
Ce: David M. Nieporent <dnieporent@steinllp.com>; ADA Litigation Team

<ADALitigationTeam@mizrahikroub.com>
Subject: RE: [External] [URGENT] RE: Mejia v. The Tree Center, 1:22-cv-05794

Erin:
Email is just fine.

Sincerely,
David Stein

atElN David Stein
, Partner / STEIN & NIEPFORENT LLP
> ea T
— SASN

A: 1441 Broadway, Suite 6090, New York, NY 10018

L, SP: (212) 308-3444 F; (212) 836-9595 C: (646) 334-4419
“ORENTY E: dstein@steinllp.com W: www steinllp.com

ADMITTED IN NY, NJ, PA, IL, DC
CONFIDENTIAL AND PRIVILEGED

From: Erin Kelley <ekelley@mizrahikroub.com>

Sent: Thursday, December 29, 2022 3:15 PM

To: Sarah Morgan <smorgan@mizrahikroub.com>; David Stein <dstein@steinllo.com>
Ce: David M. Nieporent <dnieporent@steinllp.com>; ADA Litigation Team

<ADALitigationTeam@mizrahikroub.com>

Case 1:22-cv-05794-PGG-KHP Document 35-2 Filed 01/31/23 Page 8 of 9

Subject: [URGENT] RE: Mejia v. The Tree Center, 1:22-cv-05794
Importance: High

Good afternoon,

| wanted to follow up on the below. Please respond as soon as possible.

Erin Kelley |_| mizrahikroub.com
Associate |_|(212) 595-6200

|_| 225 Broadway 39th Flr. New York, New York 10007

IMPORTANT: The contents of this email and any attachments are confidential. They are intended for the named recipient(s) only. If
you have received this email by mistake, please notify the sender immediately and do not disclose the contents to anyone or make
copies thereof.

From: Erin Kelley

Sent: Tuesday, December 27, 2022 3:23 PM

To: Sarah Morgan <smorgan@mizrahikroub.com>; dstein@steinllo.com
Ce: David M. Nieporent <dnieporent@steinllp.com>; ADA Litigation Team

<ADALitigationTeam@mizrahikroub.com>
Subject: RE: Mejia v. The Tree Center, 1:22-cv-05794

Good afternoon Davids,

| just want to confirm that you all consented to the electronic delivery of this discovery. Please let
me know as soon as possible.

Erin Kelley |_| mizrahikroub.com
Associate |_| (212) 595-6200

[| |_| 225 Broadway 30th Fir. New York, New York 10007

IMPORTANT: The contents of this email and any attachments are confidential. They are intended for the named recipient(s) only. If
you have received this email by mistake, please notify the sender immediately and do not disclose the contents to anyone or make
copies thereof.

From: Sarah Morgan <smorgan@mizrahikroub.com>
Sent: Monday, December 12, 2022 1:40 PM
Case 1:22-cv-05794-PGG-KHP Document 35-2 Filed 01/31/23 Page 9 of 9

To: dstein@steinllo.com
Ce: David M. Nieporent <dnieporent@steinllp.com>; ADA Litigation Team

<ADALitigationTeam@mizrahikroub.com>
Subject: Mejia v. The Tree Center, 1:22-cv-05794
Good afternoon,
Attached please find copies of the following:
e Plaintiff's Requests for Production to Defendant;
e Plaintiff's Interrogatories to Defendant; and

e 30(b)(6) Deposition Notice.

Please advise whether Defendant consents to electronic service of all discovery in this matter.

Thank you,
Sarah Morgan |_| mizrahikroub.com
Legal Assistant |_| (212) 595-6200

|_| 225 Broadway oth Fir. New York, New York 10007

IMPORTANT: The contents of this email and any attachments are confidential. They are intended for the named recipient(s) only. If
you have received this email by mistake, please notify the sender immediately and do not disclose the contents to anyone or make
copies thereof.
